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                             UNITED       STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                         Norfolk Division
                                                                                          AUG

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                                                                                                            1CO 2018


                                                                                  CLERK, U 5, DISTRICT COURT
                                                                                             KO^F-'OlK. VA

R.M.S. TITANIC,            INC.,
successor-in-interest to Titanic
Ventures, limited partnership,

                        Plaintiff,
                                                                 CIVIL ACTION NO.             2:93cv902
V.



THE WRECKED AND ABANDONED VESSEL,                       ITS
ENGINES, TACKLE, APPAREL,
APPURTENANCES, CARGO, ETC., LOCATED
WITHIN ONE (1) NAUTICAL MILE OF A
POINT LOCATED AT            41    43'    32"    NORTH
LATITUDE AND       49      56'    49"    WEST
LONGITUDE, BELIEVED TO BE THE R.M.S.
TITANIC,     IN REM,


                        Defendant.




                                                 ORDER


      This       matter          comes     before       the      court     on     the     Notice                    of


Appearance       of     Edward          James    Powers       on    behalf       of    the        National

Maritime     Museum         ("Museum"),           filed    on      July    9,     2018,           to        which

R.M.S.    Titanic          objects.       Notice       Appearance,        EOF     No.     450;              Obj.,

EOF No.    453.    To      the    extent       the Museum       seeks     to    intervene          in           this


action    and be        represented by counsel,                    an   appropriate motion to

do   so   must    be    filed      before        the    court.     See    Fed.    R.    Civ.               P.     24.


Accordingly,          to    the     extent        R.M.S.      Titanic      objects        because                    a
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Notice       of    Appearance        is    an     improper       procedural              mechanism      to

intervene in these proceedings, the objection is GRANTED.^

      Additionally,              by filing a          Notice of Appearance,                  the Museum

was   electronically              added     as    a    Defendant           on    the     face    of    the

docket    in      the    style     of     the    case,    with       Mr.        Powers    as    counsel.

That addition           to   the   docket        is   in error,       because          the     court   has

not issued any ruling on the                     intervention of the Museum in this

action,      nor    has      a   proper     motion        been    filed.          Accordingly,         the

Clerk is DIRECTED to remove this entry of party and counsel from

the   face    of the docket         sheet.


       Further,         John Michael Neary filed a                   Notice of Appearance as

counsel      for    the      Official      Committee       of    Equity Security Holders,

ECF No.      467,       and they were           likewise added as                counsel and as         an

Interested Party,             respectively,           on the face of the docket in the

style of the case.               For the same reasons as set                      forth above,         the

Clerk is DIRECTED to remove this entry of party and counsel from

the    face        of     the      docket        sheet.        Finally,           if     any     further

appearances         are      electronically            filed     in    this        case      without     a

proper motion to intervene under Federal Rule of Civil Procedure




      ^ R.M.S.           Titanic        also     objects        on    the        ground        that    the
National Maritime Museum has no standing to participate in this
case. Obj. at 1-2. The court is withholding ruling on the issue
of standing, and this argument may be renewed as an objection,
upon the filing of an appropriate motion to intervene by the
National      Maritime       Museum.
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24,   the   Clerk   is      DIRECTED    to    enter   a       Notice     of   Correction     to

remove the party and counsel from the face of the docket sheet.

      The   Clerk      is    DIRECTED    to    send       a    copy     of    this   Order   to

counsel for all parties, together with Mr.                       Powers and Mr. Neary.

      IT IS    SO ORDERED.

                                                                              Isl
                                                                  Rebecca Beach Smith
                                                                      Chief Judge
                                                              Rebecca    Beach Smith
                                                                   Chief Judge


August   9-
         o /    2018
